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 1   Laurie Elizabeth Alderman
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 2   Cotati, CA 94931
     707-795-1540
 3   lauriealderman@yahoo.com

 4   Pro Se – Plaintiff

 5
                                 UNITED STATES DISTRICT COURT
 6
                             NORTHERN DISTRICT OF CALIFORNIA
 7
                                                 Oakland
 8
                                               )
 9   Laurie Elizabeth Alderman                 )     Case Number: 4:19-cv-05844
                                               )
10                                             )
                     Plaintiff,                )
11                                             )
             vs.                               )     AMENDED COMPLAINT FOR:
12                                             )
                                               )     --Violation of Civil Rights
13   City of Cotati,                           )     --ADA discrimination
     Michael Parish, Mark Landman, John Moore, )     --Monell Claim
14   John DellOsso, Wendy Skillman, Damien     )
     O’Bid                                     )
15                                             )
                     Defendants                )
16                                             )

17

18   On 2/4/2020, U.S. Magistrate Kandis A. Westmore through her order granting in part and denying
19   in part Defendants’ Motion to Dismiss, ordered that I (a pro se plaintiff) may file an amended
20   complaint consistent her order. This is the amended complaint. Also granted was an extension
21   of the due date of this amended complaint to 3/16/2020.
22   Plaintiff Laurie Alderman, by and through acting as her own attorney (pro se), herby brings this
23   action under 42 U.S. C. §1983 and common law against defendants: CITY OF COTATI, POLICE
24   CHIEF MICHAEL PARISH, CITY COUNCIL MEMBER MARK LANDMAN, CITY
25   COUNCIL MEMBER JOHN MOORE, CITY COUNCIL MEMBER JOHN DELLOSSO, CITY
26   COUNCIL MEMBER WENDY SKILLMAN AND CITY MANAGER DAMIEN O’BID.
27

28

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 1                                     JURISDICTION AND VENUE

 2   1. This action is brought under 42 U.S.C § § 1982 and 1988. Jurisdiction is conferred on this

 3   Court by 28 U.S.C. § § 1331 and 1343, this being an action seeking redress for the violation of

 4   plaintiff’s constitutional and civil rights.

 5   2. Plaintiff further invokes this Court’s supplemental jurisdiction under 28 USC §1367, and any

 6   and all state law claims and as against all parties so related to claim in this action with this Court’s

 7   original jurisdiction that they form part of the same case or controversy.

 8   3. Venue in this district is proper in the Northern District of California under 28 U.S.C. §1391(b)

 9   and (c) in that the defendant City of Cotati is administratively located within this district, and the

10   events giving rise to this claim are within the Northern District.

11   4.    Plaintiff seeks relief under the Civil Rights Act of 1871, as amended codified in 42 U.S.C §

12   1983, for violation of her First Amendment rights secured by the United States Constitution and

13   by the laws and Constitution of the State of California.

14   5.     Plaintiff seeks relief under the same Civil Rights Act of 1871, for violations of the 14th

15   Amendment, most notably the 14th Amendment’s equal protection under the law clause concerning

16   her rights to equal police protection, code enforcement and property rights as other citizens of the

17   City of Cotati, of the State of California, and of the United States of America.

18   6.    Plaintiff seeks additionally relief against the defendant, CITY OF COTATI under the

19   Americans with Disabilities Act of 1990, Title II, which applies to public entities.

20   7.    Plaintiff seeks compensatory and exemplary damages, injunctive relief, an award of costs,

21   and such other and further relief as this Courts deems just and proper.

22                                                  PARTIES

23   8. Plaintiff LAURIE ALDERMAN is, and at all times mentioned in this complaint was a citizen

24   of the United States, residing in the City of Cotati, County of Sonoma, State of California.

25   9.   At all relevant times, defendant CITY OF COTATI was a municipal entity created and

26   authorized under the laws of the State of California. It is authorized by law to maintain a police

27   department, which acts as its agent in the area of law enforcement.

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 1   10. Defendant CITY OF COTATI was at all relevant times, the public employer of the defendants

 2   MICHAEL PARISH, MARK LANDMAN, JOHN MOORE, JOHN DELLOSSO, WENDY

 3   SKILLMAN and DAMIEN O’BID.

 4   11. At all relevant times, defendant MICHAEL PARISH was a duly appointed and acting officer,

 5   servant, employee, and agent of the City of Cotati Police Department, a municipal agency of the

 6   defendant CITY OF COTATI.           Chief Parish attends the great majority of the city’s council

 7   meetings, fully armed and dressed in uniform. Chief Parish has been continuously employed in

 8   this position since 2012.

 9   12.    At all relevant times, the defendants, MARK LANDMAN, JOHN MOORE, JOHN

10   DELLOSSO and WENDY SKILLMAN were duly elected and acting as servants, employees and

11   agents of the City of Cotati. All of these four council members have continually been in office

12   since at least the 2014 election year.

13   13. At all relevant times, defendant DAMIEN O’BID, was a duly appointed and acting servant,

14   employee and agent of the City of Cotati.      The defendant has been in his current title as city

15   manager since 2014, and before that, was employed as the city engineer since 2008.

16   14. At all relevant times, defendant Michael Parish was acting under the colors of the laws,

17   statutes, ordinances, regulations, policies, customs, and/or usages of the State of California and

18   Cotati Police Department, in the course and scope of his duties and function as an officer, agent,

19   servant, and employee of defendant CITY OF COTATI, was acting for, and on behalf of, and with

20   the power and authority vested in him by the City of Cotati and the Cotati Police Department, and

21   was otherwise performing and engaging in conduct incidental to the performance of his lawful

22   functions in the course of his duties. He is sued in his individual and official capacities.

23   15. At all relevant times, defendants MARK LANDMAN, JOHN MOORE, JOHN DELLOSSO,

24   WENDY SKILLMAN AND DAMIEN O’BID were acting under the color of the laws, statutes,

25   ordinances, regulations, policies, customs, and/or usages of the State of California and the City of

26   Cotati, in the course of their duties and functions as officers, agents, and employees of the

27   defendant CITY OF COTATI, and were otherwise performing and engaging in conduct incidental

28   to the performance of their lawful functions in the course of their duties. Therefore, defendants

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 1   MARK LANDMAN, JOHN MOORE, JOHN DELLOSSO, WENDY SKILLMAN and DAMIEN

 2   O’BID, are all sued in their individual and official capacities in the civil rights claim.

 3                                           NOTICE OF CLAIM

 4   16. Plaintiff LAURIE ALDERMAN timely filed two government tort claims with the City of

 5   Cotati on May 28th, 2019 and June 3rd, 2019, setting forth the facts underlying plaintiff’s claim and

 6   the City of Cotati and all defendants mentioned, including the city council members and city staff

 7   mentioned herein.

 8   17.   The City of Cotati rejected both of the plaintiff’s claims on June 24, 2019, and no

 9   compensation has been offered by the defendant CITY OF COTATI in response to plaintiff’s

10   claims.

11   18. This action had commenced within six months of the service of the rejection of the plaintiff’s

12   claim.      The original complaint was filed on September 19, 2019.           U.S. Magistrate Judge

13   Westmore’s order allowing for this amended complaint was filed 2/4/2020. A motion to extend

14   the due date of this amended complaint was granted, allowing to 3/16/2020 for the amended

15   complaint to be filed.

16                               FACTS AND BACKGROUND SECTIONS

17   19.      In the facts and background sections, as a pro se litigant, I will be writing in first person

18   voice.

19   20.   The City of Cotati and the mentioned individual defendants, for at least five years, have

20   chilled my free speech rights, denied me equal protection under the laws of the city, and targeted

21   their behavior against my known disabilities for the City’s coffers and their political gain. This

22   denial of equal protection under the law, has caused tangible harm, including to my professional

23   career, disabilities and medical conditions. The denial of the rights and services other citizens in

24   the City of Cotati enjoy, especially in regards to their denial of police services and protection over

25   five and half years, has caused harm to my family and me.

26   21. The City of Cotati has established a pattern of unequal treatment under the law, consistently

27   giving a few privileged citizens of Cotati rights over my equal rights to the same governmental

28   services. They have established a pattern… The City facilitates/gives privileges to another citizen

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 1   or family who in turn, harass my family and financially gain from the facilitation with their

 2   interactions with the City, while I am denied the same governmental benefits of city services and

 3   financially harmed by these relationships between the privileged citizens and the City.

 4   22. The City is also able to financially gain in these relationships, i.e. receiving building and

 5   development fees or not cleaning up environmental contamination by their actions. The first series

 6   of events were from 2014-2016 and is related to a fire/six explosions next door that contaminated

 7   our property. The second series of events were from 2018 to the current time in 2020, which are

 8   related to my opposition to two current building projects in Cotati, which are the only two major

 9   projects going through the approval process in the City of Cotati currently.

10   BACKGROUND ON THE CITY OF COTATI’S UNANIMOUS VOTE RECORD AND

11   THE FINANCIAL AND POLITICAL CONTROL OF THE CITY ON ISSUES BEFORE

12   THE CITY.

13   23. On its face, Cotati is unique in that it was a 99% unanimous vote record with its city council

14   votes since 2009. To achieve this vote record, the City has developed many modes of operandi,

15   unwritten policies which are aimed at suppressing free speech and any opposition to its unanimous

16   ways. These behaviors are directed at the few citizens, including me, who oppose their actions.

17   One other such person is George Barich, who had a free speech civil rights case in this court in

18   2015, where Judge Vince Chhabria said that he never wanted to hear about the City of Cotati

19   chilling free speech rights again. Yet, here we are again, in federal court, concerned about the

20   chilling of free speech rights and expression by the City of Cotati.

21   24. Since 2009, all items before the council have passed favorably—for over a decade now all

22   agenda items have passed before the council. Their voting record is that 99% of the council votes

23   are unanimously in favor of the agenda items since 2009. Only a handful of the council votes

24   have been 4-1 votes in over 10 years, but all resolutions have passed. In 2018 and 2019, all council

25   votes were unanimous. Since 2003, only two items have not been passed by the council—one in

26   2007 and one in 2008.

27   25. Over time, the effect of public input not mattering due to the unanimous vote record, has led

28   to most city council meetings having very low attendance records. Some citizens might come for

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 1   one item on the agenda, but in 2018 and 2019, there were only usually 2-4 citizens that stay for

 2   the whole meeting.

 3   26. The few citizens at the future agenda items public comment period, have for at least 4 years

 4   asked for a number of items to be put on the agenda to the City’s refusal to do so. Examples of

 5   these issues are senior services, homelessness, and weed abatement. This contributes to the tight

 6   control the City has on what projects and services are financially funded in the City of Cotati.

 7   27. The City has denied the citizen’s requests to put weed abatement enforcement on the agenda

 8   now for four years. The citizens who regularly attend efforts to have this item heard as an agenda

 9   item intensified their efforts after the October 2017 firestorm in our county, the Camp Fire in

10   Paradise in 2018, and most recently, the Kincade Fire in our county in October, 2019. The City

11   of Cotati has not enforced its own city weed abatement code since 2008.

12   28. This situation, on its face, is unique in its own right, and demonstrates the tight control the

13   City has on financial and other decisions of the city. The city enjoys the financial benefits and

14   political advantages of having tight control …i.e. the City decides what is built in our city, which

15   policies/laws are enforced, etc. The public knows that their input does not matter ultimately in

16   the decision, because the agenda items will pass unanimously based on a decade’s long history.

17   BACKGROUND RELATING TO 2014 FIRE/EXPLOSIONS UNTIL MARCH, 2016

18   29. Before 2014, my family and I had a normal relationship with the police, city council and staff

19   in our city. We had good relationships with our neighbors, including Defendant Mark Landman,

20   who is a close neighbor, backyard to backyard. We had only a few times had to have the police

21   come to our house, for events such as being a victim of a burglary. No one in our household had

22   a criminal record or any contact with the Cotati Police for at least forty years for any of us

23   committing a bad act.    A few times we had code enforcement come out for events such as a new

24   electric panel. I hadn’t attended a city council meeting since 7th grade.   We had “no reputation”

25   as a family and lived ordinary lives as citizens of Cotati.

26   30. I became involved in city politics only after a June 2014 fire and explosions next door to us

27   within the city limits of Cotati that also caught our family home on fire. The fire and explosions

28   were the equivalent of a three-alarm fire next door that involved seven local fire agencies, and a

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 1   massive response from PG&E due to a natural gas explosion. The explosions were heard four

 2   miles away, and ash fell 1 ½ miles away. Luckily, there were no injuries or fatalities in the multi-

 3   home incident.        The next-door neighbor’s main home was completely destroyed, leaving a

 4   converted garage accessory structure damaged, but still standing.

 5   31. The day after the fire, the neighbors were already power-washing the fire debris onto our

 6   property and into the city’s stormwater system. Within a few days, they were bulldozing the fire

 7   debris (and dust) towards our house.

 8   32. During our brief encounters in the first week, the neighbors assured us that they had regular

 9   fire insurance. However, it was strange that no fire investigators were sent out by their insurance

10   company, when our homeowners’ insurance had sent out 5 different experts within the first week.

11   33. The first few weeks, there were also conflicting stories in newspaper reports of the number of

12   people at the fire. The newspaper reports said the neighbor acted alone in trying to put out the

13   fire. I had repeatedly been told by other neighbors on the date of the incident that another neighbor

14   was at the house and yelled, “Dave, it is going to blow … we have to get out of here”.        I sent a

15   few emails to numerous Rancho Adobe Fire District staff and City of Cotati employees and council

16   members, about why the neighbors were being allowed to power-wash the debris into the storm

17   gutter, our property, and the city’s water system. I had also expressed concern that their relatives

18   had parked a RV in a field close to the house, with a gas can and a propane tank out in extremely

19   hot July weather. These are the only actions I did concerning finding out about the cause of the

20   fire and explosions, and concern for safety right after the fire.

21   34. Eleven days after the fire, there was a harassment incident by the neighbors, in which they

22   yelled details only known to emails to the City and the fire officials, i.e. my concern for the power-

23   washing into the gutter. They accused me of causing their relatives’ RV to be thrown off another

24   neighbor’s field by the City. These details were only mentioned in emails to the City and the fire

25   district officials.

26   35. I was chastised by many neighbors and eventually the Cotati police on a rumor generated by

27   the next-door neighbors for supposedly going door to door implicating people for the cause of the

28   fire, including to the City’s police officers. This was untrue. Early on, the insurance companies

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 1   determined our family was 0% at fault for the fire and explosions, so I would have no motive to

 2   do so, even if it was true that I went door to door.

 3   36. Due to the toxic dust and power-washing, and my then 77-year-old mother (Christine

 4   Alderman) becoming ill from the toxic dust bulldozed towards our home, our insurance company

 5   put us up in a hotel in Rohnert Park soon after the harassment incident. My mother and I enjoyed

 6   relative safety for the 3 plus months while at the hotel in another city, Rohnert Park. The hotel

 7   was instructed to not give any information that we were staying there.

 8   37. At the same time as being put in the hotel in early July, hearing of my mother’s illness and the

 9   lack of response from the City, the Rancho Adobe Fire District’s fire marshal ordered the neighbors

10   to stop work.   This was not in his jurisdiction to do so, but he felt compelled to do so to protect

11   my elderly mother’s health.     The neighbors agreed to the fire marshal’s order that a professional

12   haz mat level team perform the cleanup.     In November, eventually the sediment from the power-

13   washing tested at a toxic level for petroleum byproducts, metals, and other contaminants, i.e.

14   arsenic. My elderly mother had approximately two months of lung issues due to the exposure of

15   the toxic dust in those first 10 days of the neighbor’s illegal clean-up.

16   38. By the end of July, the Rancho Adobe Fire District’s report on the fire had been completed,

17   and at that time, we learned that the neighbors did not have “regular” insurance, but “forced

18   mortgage lender insurance”, and that they therefore did not have liability insurance.

19   39. A few days after we arrived at the hotel in mid-July 2014, my mother was confronted alone at

20   our house when she went to pick up some items. The neighbors threatened to her that “if she

21   didn’t get rid of Laurie”, that she would have the City and the police make her life hell.      The

22   neighbors told her the police had their back, not hers.

23   40. A few days later, I went to the house to retrieve some items. The neighbors severely harassed

24   me, including saying I would be going to jail (which was odd to me) and again stated to me that

25   the police had their backs, not mine. I waited for about an ½ hour calming down, and went to the

26   police station to report the harassment. Meanwhile, the neighbors had gone to the police station

27   and told complete lies about the situation—that I did the harassment, when I hadn’t said a word

28   during the harassment incident.

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 2   41. When I arrived at the police station, I was lectured on my behavior and the property rights of

 3   the neighbors.    I walked out of the police station after the officer confirmed that the neighbors

 4   had spoken to him first. When I returned to the hotel, I was in tears. My mother, concerned,

 5   called the Cotati police station to speak to the officer. The officer said that she needed to control

 6   me and my behavior in harassing the neighbors. She was told that there would be consequences

 7   if I wasn’t “controlled”. The officer told my mother to stop speaking to fire and insurance

 8   investigators telling “my lies”.

 9   42. In late July 2014, the ex-City manager, Dianne Thompson, in writing, denied the City’s

10   responsibility for the fire ruins and contamination of our property, when in actuality it was the

11   city’s sole jurisdiction over the fire ruins. This lack of response by the City resulted in my asking

12   many county, state and federal (our neighborhood is in a federal critical habitat) agencies over the

13   next few months to intervene in the situation. In late August, 2014, the city did acknowledge that

14   it had jurisdiction over the ruins by allowing the neighbors to start once again an haz mat level

15   clean-up by themselves. These emails I sent to the county, state and federal agencies were shared

16   with the neighbors without a public records act request by the City.

17   43. While we enjoyed the safety of the hotel, we occasionally would need to visit our property for

18   various reasons. Whenever my elderly mother or I went to visit our property and the neighbors

19   were there, we would be verbally harassed. The neighbors would also report our fire repair

20   contractors’ employees as breaking and entering; and the City police would come out to investigate

21   the situation with the contractor’s workers being in our house.

22   44. The neighbors would still quote words and phrases that I had only been writing in city emails

23   during their harassment. In October 2014, my attorney went down and found a stack of my emails

24   written to the city personnel in the neighbor’s building file. When I went down two times later

25   that week, there were no such records present in the file. Despite California Assemblyman Marc

26   Levine’s intervention in this disclosure of records in October 2014, the neighbors continued to cite

27   phrases and information from my emails to the City during the next two years until the professional

28   abatement of the property.

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 1   5. During this time in fall 2014, the husband repeatedly stalked me, the police officers said that it

 2   wasn’t illegal to follow someone (I had made many evasive maneuvers).          When the neighbors

 3   trespassed, the officers said that it wasn’t trespassing. They never would write reports or come to

 4   deal with the neighbors screaming obscenities at me and my elderly mom—a records act request

 5   two years later resulted in “no responsive records” for these police reports the officers said had

 6   been written supposedly over those two years.

 7   46. Whenever I went to the police station to talk to an officer after a harassment episode by the

 8   neighbors, I always received lectures on my behavior.      I usually hadn’t said a word. This was

 9   on the advice of my lawyer that to be seen legally as pure harassment, I had to remain silent while

10   the neighbors harassed me.

11   47. The neighbors gloated many times that they had the City and the police on their side. On

12   many occasions, especially during the early months, the neighbors kept saying I was going to jail.

13   I thought this was odd behavior considering that I hadn’t committed any bad act or a crime.

14   48. In October 2014, the main repairs on our house were finished and our insurance was sending

15   us back to our home despite our requests for more time for our safety. There was a power-washing

16   incident over the weekend with my neighbors’ power washing a great deal of the fire debris

17   materials into the city’s gutter and storm system down the stormwater drain at the end of the street.

18   I was in contact with the North Coast Regional Water Board, who wanted me to preserve the

19   evidence of the power-washing, which included buckets worth of toxic sediment in the sidewalk

20   gutter in front of our house.

21   49. Due to this situation while the neighbors were actively power washing into the gutter and our

22   property, we stayed in the hotel for three more nights at our own expense. When we returned to

23   our property, I was severely being harassed because I was trying to get the neighbors not to clean

24   up the toxic sediment in front of our house. My elderly mother called the Cotati police because

25   the neighbors were severely harassing me. The police officers arrived. One officer talked to me

26   about the neighbor’s rights to clean up the gutter in front of our house and debated with me about

27   the word “evidence” that I was trying to preserve.

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 1   50. Meanwhile within one minute of the other officer talking to the wife of the family next door,

 2   that police officer called the one talking to me over; then police officers left. There is a video of

 3   this whole encounter—I brought down a DVD of this encounter to the police station. Later PRA

 4   requests denied that there were responsive records of the encounter.        The neighbors continued

 5   shoveling up the toxic sediment in the gutter for 4 hours, and harassing us, including “mooning”

 6   us and saying they could get away with any behavior and the City and police would let them.

 7   51. That is the day that my mom and I consider the day we stopped feeling safe in our home and

 8   no longer had property rights or police protection. It is the day we knew that my contacting the

 9   multiple agencies had consequences we had to live with.        We knew that the police nor the City

10   would not protect us from harm. That is the day we learned that protections under the law, police

11   protection, and rights to other city services were granted to other citizens, but not us. It was better

12   for us to not speak out, accept living in a toxic environment or face the consequences of speaking

13   out with our neighbors, the City and the police.

14   52. Not once, were our property rights considered in the 17 months while the neighbors were

15   living on the contaminated property, was our rights as property owners considered. Our health

16   and welfare were not considered or given the same equal treatment as the neighbors. We were

17   subjected to living in a toxic environment (contaminated soil that poisoned and killed my two cats)

18   for almost 2 years, because of the city’s actions to unequally enforce laws, giving privilege to the

19   citizens next door over any of our rights by delaying an abatement for nearly two years.

20   53. Another time that month, my attorney and I had stopped by our house to pick up some items.

21   The husband stalked me once again with my attorney in the car. My attorney (who also lives in

22   Cotati) was so concerned about my personal safety at that time, that I stayed in an extra bedroom

23   at her house for a week.

24   54. Suddenly, our home and property became the hot bed of the neighborhood for vandalism (i.e.

25   toilet papering), occurring about twice a week, usually at night. In 45 years of living at our address

26   at that time, we had never had an act of vandalism to that point.     The police when called would

27   say that we couldn’t prove it was the neighbors doing the vandalism. These vandalism events

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 1   lasted for about a month, until we received a one-way restraining order. The police did not come

 2   out when we asked them to in reporting this vandalism.

 3   55. We were not treated equal under the law as other citizens in the city.        While we would

 4   complain about dozens of building codes not being enforced to no action by the City or police, all

 5   the neighbors had to do was complain once during this time , and we had to have what ended up

 6   as a re-inspection of a re-inspection of a re-inspection of an inspection of fire repairs that were

 7   exempt (in November, 2014).      Plus, the city inspector would come out and say the repairs were

 8   up to new code anyways.        These inspections were on fire repairs that the neighbors were

 9   determined to be at 100% at fault as far as cause.

10   56. The neighbors were supposedly issued a “temporary occupancy permit” to live in the fire

11   damaged and unpermitted converted garage. There was no actual paper permit, and the neighbors

12   were allowed to live in the fire damaged garage for 17 months, when the State of California fire

13   codes do not allow for issuance of a temporary occupancy permit for any fire damaged building.

14   57. We were able to get a non-CLETS restraining order against the next-door neighbors in

15   November 2014. However, the Cotati police, not once enforced the restraining order when

16   requested to do so.    Even the Chief of Police, Michael Parish, in 2015, refused to enforce the

17   restraining order at two public hearings in regards to the neighbor’s property, despite my family’s

18   requests to do so. We soon realized that having a restraining order gave us no protections as other

19   citizens with similar restraining orders had under the law.

20   58. Another example of the lack of police protection happened in May, 2015.          The neighbors

21   turned over a burnt-out RV converted bus that had exploded in the fire explosions and let it idle

22   on their property for about 30 minutes. Concerned about our personal safety and overall the public

23   safety of the converted bus being on the roads with broken out windows, leaking fluids, damage,

24   etc., I called the Cotati Police. While the dispatcher said she would send an officer out about our

25   concern over public safety, but instead we received a phone call a few minutes later from an officer

26   saying that he would not come out. I then called the local CHP office, and the CHP dispatcher

27   said that once they were on the road the CHP would take jurisdiction. I called back to the CHP

28   once they drove off their property.       The CHP tried to locate the converted bus, but were

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 1   unsuccessful. I asked the city council, the city staff, and the police department to investigate this

 2   incident to no response from anyone.

 3   59. The neighbors were able to live illegally on the property without having any consequence for

 4   not following many laws and building codes for 17 months with the City facilitating this. This

 5   allowed also the City to not have to pay the financial cost of an environmental clean-up due to

 6   their negligence of not enforcing building codes or supervising the clean-up of the haz mat level

 7   fire ruins.

 8   60. Once their foreclosure sale went through, and the neighbors walked away from at least $500k

 9   in liabilities, the City, again, treating an entity unequally under the law, imposed many building

10   code violations on the foreclosing bank. This included a costly abatement of the property by the

11   foreclosing bank in March, 2016. Our family incurred approximately $20k of expenses (legal

12   fees and for home repairs that would have been covered with liability insurance) from the date of

13   the fire to the date of the abatement in March 2016.       This was for an incident that we were

14   determined to be 0% at fault for.

15   61. It is indeterminable what effect living in a toxic chemical environment had on my family’s

16   health for the 21 months after the fire and explosions.     I received intensive medical treatment

17   during 2015 and 2016 for PTSD and chronic pain (See Exhibit 1). By mid-2016, I was no longer

18   holding my muscles in the “fight” position because of PTSD that was affecting my spinal cord

19   condition.

20          Background-- Mid 2016-2018 Reputational harm by City, chilling free speech

21   62. After the abatement in March 2016, and the property being bought by a local family who knew

22   the history of the contaminated soil and the response to the contamination by the City, my elderly

23   mother and I had some sense of safety in our home return to us.

24   63. By that time, the issues related to the fire were minimal that I spoke of in council meetings,

25   and I was well established as a citizen known to speak at council meetings.       Because I was on

26   SSDI, there were not many ways for the City to economic or personally harm me in speaking out

27   at council meetings on issues before the council.       I was not working yet as a paralegal, but

28   completing a paralegal program.      Reputational harm by the city/state did not impact me because

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 1   my governmental benefits were mostly on the federal level, i.e. SSDI and Medicare. I also did not

 2   challenge any city building projects that the City was involved in during these two years.

 3   64. However, many times when I opposed a general item, I would be interrupted multiple times

 4   during my 3 minutes allowed of public comment.              Others were allowed to speak without

 5   interruption if they were in favor of the item.

 6   65. By 2018, while it was troublesome to have my free speech chilled by such actions as new city

 7   council rules (against California’s Brown Act) being enacted to further limit public input allowed,

 8   it wasn’t doing harm to my life on a daily basis to have my free speech chilled. I received the

 9   same police protection as other citizens in my neighborhood (a rare occurrence of seeing a police

10   car in our neighborhood because we have a very low crime rate in our neighborhood because of

11   its hidden from view location). I received the same amount of City Services as the other citizens

12   in Cotati as far as dealing with water/sewer services, etc. It was just my reputation being affected,

13   but I was moving on. I had worked hard to change careers and obtain my paralegal certificate in

14   May, 2018 (See exhibit 1).

15   66. However, starting in early 2018, the stakes to the City intensified financially. The attempts

16   both online and in council meetings to chill my speech intensified, painting me as untruthful and

17   having mis-informed facts and continuing a previous theme of painting me as “psycho” as the

18   City and the neighbors had done during the first 2 years after the fire. The City moved on to

19   actions other than chilling my speech that affected and harmed me medically and professionally,

20   now that I was seeking work as a paralegal.

21                       FACTS WITHIN THE STATUTE OF LIMITATIONS

22   Early 2018- present: City has financial interests in what I oppose, start chilling my speech with

23   actions

24   67. While there were other building projects, I didn’t oppose generally built in 2016-2018, starting

25   in 2018 there were two general building projects that the City had/still has a great financial interest

26   in. These are the only two building projects in Cotati in the processing of going through approvals

27   to be built currently—there are no other major projects in the City requiring approvals.       Once I

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 1   started opposing these projects, the actions of the City became more than “mere words”. I was

 2   also finishing up my paralegal program and ready to start a new career at this time.

 3   Background on the 2 building projects the City has financial interests in.

 4   68. The two projects that the City has a deep financial interest is the “hotel project” and the Cotati

 5   Commons Marketplace development. The hotel project is for a hotel on city owned land that the

 6   City will receive $2.3 million for if the hotel is developed. It was a Caltrans Park and Ride lot

 7   that was gifted to the City as surplus land.

 8   69.    At the site of the hotel, a $5 million sewer project was completed in the Spring of 2019,

 9   partially built for the hotel as the hotel could not be built with the existing sewer capacity. This

10   sewer project is for a city of 7500 citizens, and was over $2 million in its budget.   Another issue,

11   is that it planned to be a 4-story hotel. The local fire district does not have a ladder truck, and the

12   City wants to rely on mutual aid for a ladder truck, which the closest would be about 20 minutes

13   away from the hotel. I adamantly opposed the issue of the ladder truck due to concerns of any

14   guests with disabilities like myself staying on the fourth floor. Lastly, there are traffic problems

15   with a right turn only lane off the freeway right in front of the hotel.   It is well known about the

16   hotel project with the citizens of Cotati. Mark Landman posting on Nextdoor.com has repeatedly

17   attacked my information I post as “misinformation”, when I did have sources for my information,

18   i.e. direct quotes from fire officials.

19   70. The other building project is the Cotati Commons Marketplace, which includes the Cotati

20   Cottages housing development (40 new homes) and an assisted living/memory care/cannabis

21   dispensary project on about 14 acres.       This whole area is in the federal and California critical

22   habitat of the California Tiger Salamander. The City has extended the tentative maps of the project

23   from 2003 to the present day. The CTS became a federally endangered species in 2003.              The

24   City of Cotati holds the mitigation bonds for the area (South Sonoma Business Park).

25   71. Additionally, there are 3 dangerous turns near the proposed developments. One turn near the

26   project was in the 1998 General Plan as a priority project to be corrected for a 270-degree left hand

27   turn off Hwy 116, to no action in all these years. The cost to put stoplights and intersections as

28   outlined in the General Plan is $10 million. The City has no monies specifically saved for these

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 1   improvements, and are now considering for approval or approving the projects without the

 2   improvements when concurrently trying to approve development project such as a memory care

 3   facility next to highway 116 with 17k vehicles a day.

 4   72. The City has buried the information on this development in their website, so I was suddenly

 5   the only citizen opposing this development because nobody knew about the projects.       When I

 6   started informing my fellow citizens on Nextdoor.com about the project in the summer of 2019, is

 7   when the actions by the City, especially Mark Landman online on Nextdoor.com, greatly

 8   intensified.

 9   Social Media shaming and cyberstalking starts in 2018/Involvement of citizen Mr. Mora.

10   73. Being the only one publicly opposing the Cotati Marketplace development, this attracted the

11   attention of another Cotati citizen, Christopher Kren Mora, who has a financial interest in the

12   Cotati Cottages, initially in July 2018, but more actively in June 2019.

13   74.   Mr. Mora lives the current Cotati Cottages project completed 2 decades ago. He is the

14   president of the Cotati Cottages HOA. There is now a shovel-ready project which is basically

15   Cotati Cottages Phase II, next to the current Cotati Cottages development where Mr. Mora resides.

16   This project is owned on land by Mr. Monahan.        Mr. Monahan also owns the land next to the

17   Cotati Cottages new project, where a memory care/assistive living/cannabis dispensary is proposed

18   and going through the approval process currently. Mr. Mora has close communications with Mr.

19   Monahan due to Mr. Mora being the president of the HOA of Cotati Cottages, which Mr. Monahan

20   developed and is seeking further development next to the existing Cotati Cottages.

21   75. Mr. Mora’s actions started in July 2018, with a few phone calls and posts on Nextdoor.com.

22   Once the Cotati Cottages and Memory care facilities properties going the public input processes,

23   in the summer of 2019, i.e. the EIR, Mr. Mora’s behavior and actions towards me has increased

24   dramatically.

25   76. Additionally, the recent records act responses received shows that Mr. Mora has been sharing

26   this federal lawsuit with members of the city, i.e. planning commissioners and the general public

27   since it was filed in September, 2019, especially during a seven-week period in December to

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 1   January when his cyberstalking was 24/7 on social media platforms.             Mr. Mora repeatedly

 2   degraded the reasons for the lawsuit in his emails to the public and planning commissioners.

 3   77. Additionally, the cyberstalking increased to 24/7 when it was discovered in December 2019,

 4   that Mr. Mora has owned a gay porn media company with a website and sex toys warehouse in

 5   Cotati since 2009. It is an unregistered, unpermitted, especially for permits for an adult orientated

 6   business within Cotati. This relationship with the City has been able to continue in business with

 7   no consequences legally with the City or the City’s police for a decade.

 8   June 2018 – March 2019.       Series of 2018 traumatic experiences regarding public safety issues

 9   with the City and the police leads to a deterioration in my health.

10   78. In June 2018, there was a traumatic experience that changed the circumstances.            On the

11   freeway that goes through our city, there was a five-vehicle accident. The hillside caught on fire,

12   about a block away from our house. Traffic was diverted off the freeway and into the city streets

13   of Cotati in both directions so that a helicopter could land, etc.

14   79. I was driving, when someone ran a stop sign and almost hit me. I went to the police station

15   to say that they needed to have more officers directing traffic in the city. The dispatcher said there

16   weren’t any officers available as the two officers on duty where on the freeway exit with the CHP

17   directing traffic off the freeway. Our city of 7500 had no officers on duty on the city streets during

18   a crisis situation.

19   80. I had talked to some ex-Cotati police officers before this incident and they had said that there

20   were only 1-2 officers on duty for the whole city at a time. After the incident, I contacted a few

21   more ex-police officers and they confirmed that for a decade, there had only been 1-2 officers on

22   duty at a time usually—some had left because of this burden on themselves to be responsible for

23   a whole city’s welfare.

24   81. This knowledge activated my PTSD once again, as I once again felt unsafe in my home and

25   community, and that there would be no police services or weed abatement because of the City’s

26   inaction for years or other measures to protect me from harm after this incident. This was also

27   less than a year after the deadly October 2017 firestorm that decimated communities such as

28   Coffey Park in Santa Rosa, less than 10 miles away from Cotati.

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 1   82. I began to take more active steps in exposing this situation and getting the truth out there about

 2   the City’s lack of police officers on duty and the readiness for disasters and crises, and the City

 3   has stepped up its retaliation in various ways in return. I posted a series of posts on these incidents

 4   and the City’s lack of readiness for a disaster, in the summer of 2018. Mark Landman repeatedly

 5   degraded these posts as “misinformation” that was harming the community. My posts were based

 6   on facts.

 7   83. I also took steps after this incident to address that the city hadn’t enforced its weed abatement

 8   policy for many years (the last time the City enforced its weed abatement code was in 2008). The

 9   dry weeds on the hillside of the accident catching fire increased my anxiety about the safety once

10   again in living in my home, given that the City placed our rights to feeling safe in our home as a

11   low priority because of the City’s financial gain previously.

12   84. The next month in July 2018, there were 2 more incidents on the freeway that highlighted the

13   lack of disaster preparedness in Cotati. One was near the proposed hotel site next to the freeway;

14   a car accident lit the weeds on fire. The other incident in July, 2018, that sparked my PTSD, was

15   in Petaluma on the freeway, approximately 8 miles away, where multiple homes were burned due

16   to the trees next to the freeway catching on fire and causing multiple adjacent homes to catch on

17   fire.

18   85. Additionally, starting when these building projects were being considered in early 2018, were

19   being considered, members of the City and police chief Michael Parish started intimidation and

20   shaming tactics to silence me.

21   Intimidation, shaming and theme of misstating facts that harmed the community begins in 2018

22   86. Early in 2018, Vicki Parker, the ex-Community Development Director, told the planning

23   commission that my concerns I had gave public comment on the hotel, “the problems (with the

24   project) were in my imagination.”

25   87.     In April 2018, Chief Parish intimidated me on which chair I could sit in the audience section

26   and after telling him to consult with the city attorney on my rights to sit in an ADA accessible

27   chair in the audience, he backed off

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 1   88. In early June, 2018, I was reprimanded by the mayor, Mark Landman, for saying two words

 2   out of order (while the council members routinely are out of order speaking without an agenda

 3   item present up to 10 minutes at a time).

 4   89. On June 28th, 2018, I said three sentences out of order, and was threatened with arrest by then

 5   mayor Mark Landman. He simultaneously was shaming me on Nextdoor.com about my behavior

 6   in council meetings, with a reach of about 10k of households.       While mayor, Mark Landman

 7   would regularly do “speeches” on items not on the agenda for up to about 10 minutes (against the

 8   “rules” of California’s Brown Act), while we few citizens who attend regularly were threatened

 9   with dire consequences if we even spoke a few words out of turn.

10   90. A few days after the June 28th, 2018, council meeting, council member John Moore, wrote an

11   email on his city email account calling me “bat shit crazy”. Initially, John Moore denied writing

12   the email. John Moore repeatedly said repeatedly at council meetings that I was being untruthful

13   about this email existing. A few months later, when it was produced as a public record, he took

14   ownership of writing the email. I asked the city council and staff repeatedly to file ethics charges

15   against John Moore and I demanded a public apology for the degrading comment. I did not receive

16   an apology or ethics charges during the next 11 months that I asked for such at each council

17   meeting I attended.

18   91.   Also at the June 28th, 2018 meeting I was talking about the freeway/hillside accident in

19   citizens business, the lack of police protection and enforcing weed abatement for years was

20   exposing us citizens to great harm. I concluded with how the City didn’t care about human life,

21   or the harm they cause. This comment led to a backlash of actions against me, starting with the

22   email where council member John Moore called me “bat shit crazy”.

23   92. The events of June and July 2018 due to the incidents on the freeway regarding police

24   protection, public safety, etc., plus the intimidating acts in previous months, started affecting my

25   PTSD and spinal cord condition.

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 1   Fall 2018-winter 2019…. effects of PTSD symptoms aggravate spinal cord condition to the point

 2   of long periods of paralysis.

 3   93. After these events in June and early July 2018, I once again held my muscles in the “fight”

 4   position like I had with the aftermath of the fire/explosions dealings with the City, leading to

 5   increased symptoms/aggravation/harm to my spinal cord condition, such as increased instances of

 6   temporary paralysis of my hands and feet.      This is a pattern that happens when I am triggered

 7   into PTSD, especially with issues having to do with personal safety and protection. I will hold

 8   my muscles in the “fight” position for months at a time, leading to major problems and

 9   deterioration of my spinal cord condition.     This sequalae of PTSD triggering my spinal cord

10   condition is well known to the defendants.

11   94. After being threatened with arrest for saying three sentences out of turn, and being sent the

12   “bat shit crazy” email from John Moore, I sent an email to the City describing my increased

13   physical and PTSD symptoms in mid-July 2018.         I described these symptoms in an email to the

14   City in July 2018, asking the council and staff to decrease their actions against me while I was

15   having the temporary paralysis episodes.

16   95. The council members did not decrease their actions against me. Mark Landman continued

17   his degradation for a few months longer on Nextdoor.com. 80% of Mark Landman’s comments

18   on Nextdoor at this time were responses to my posts. I stopped writing on Nextdoor when my

19   health deteriorated in September 2018. Unlike in previous times of great stress, this time I was

20   considered medically fragile (see Exhibit 1), and the stress exacerbated my medical conditions, to

21   the point of nearly being bedridden for 3 months with multiple bouts of paralysis. This medical

22   deterioration was due to the extreme stress and duress I was receiving by the City’s actions against

23   me and the public backlash towards over the posts on Nextdoor posted by Mark Landman.

24   96. I stopped challenging the public safety issues of the hotel, weed abatement, etc. for six months

25   starting in September 2018 as I knew it would be better for me if I remained silent.    There were

26   no social media posts by Mark Landman, Mr. Mora, and me from September 2018 to

27   approximately April 2019.       As my health deteriorated in October due to the stress and PTSD

28   symptoms impacting my spinal cord condition, I wasn’t able to physically attend as many council

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 1   meetings during these months. When my spinal cord condition is flared up, it impacts my speech

 2   abilities, so that also impacted my ability to speak at council meetings effectively.

 3   97. After being nearly bedridden for 3 months with repeated temporary paralysis episodes and

 4   chronic pain, by January 2019, I had lost a great number of motor skills and strength. I began

 5   physical therapy at Kaiser and up to December, 2019, I had made great progress on regaining my

 6   motor skills and strength, back to where I was physically before the PTSD episode caused spinal

 7   cord problems.

 8   City paints my input as misinformation repeatedly in 2017-2019

 9   98. From early 2017-mid 2018, I would receive to every email the same response, no matter the

10   subject from Damien O’Bid, the city manager. It was the same paragraph over and over again for

11   about 14 months. The phrase was “I have reviewed your correspondence and strongly disagree

12   with your assumptions and conclusions. The statements that you present as facts are misinformed,

13   as well as displaying a bias against the City, its officials, and staff.”   Other citizens in Cotati,

14   obviously received replies to their emails to Damien O’Bid during this time without this statement.

15   99. In early 2018, Vicki Parker, the Community Development Director at that time, at a planning

16   commission meeting said “the problems (with the project) were in my imagination” when a

17   commissioner asked about my public input into the hotel project. The next year, in June 2019

18   Mark Landman on Nextdoor.com in response to a post I did on the unanimous vote record citing

19   just facts, wrote “ We’re all entitled to our opinion, we’re not entitled to our own set of facts”.

20   My “unanimous” vote post on Nextdoor was all based-on facts gathered through going through

21   tallying votes on the minutes.    This constant degradation that my facts are inaccurate and untrue

22   has been a long-standing theme increasing during 2018 and 2019, especially when challenging

23   these building projects that the City has a financial interest in.

24   Incidents around the time of claim against the City being filed in May/June 2019.

25   100. In May, 2019, the council, without an agenda item present, discussed this city email with

26   the “bat shit crazy” degrading wording towards me during the meeting, which was against

27   California’s Brown Act. Afterwards, council member Moore then took my public record of the

28   city email off a display wall, cornered me off-camera, and bullied me about the city email. I called

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 1   over to the city clerk to explain to council member Moore that it was a public record she had sent

 2   me.   She acknowledged this public record.

 3   101. Then, at the next council meeting on June 2, 2019 at their next city council meeting, the City

 4   of Cotati council members retaliated against me. That morning I had filed the claim with the City

 5   over chilling my free speech rights. In retaliation, Councilman Moore then read the email without

 6   an agenda item present that evening, once again calling me “bat shit crazy” publicly. Whenever

 7   I tried to speak during the rest of the meeting, he would lift up his copy of the city email and wave

 8   it at me while speaking as a threat for further humiliation. I begged the mayor, John DellOsso

 9   to rule the councilman out of order and the mayor refused to rule him out of order.

10   City feeds Mr. Mora information to cyberstalk me on social media/denies me police protection

11   from April 2019 to January 2020.

12   102. While I had thought that employees of the City were forwarding my emails to Mr. Mora, this

13   wasn’t the case when I received my PRA request in late February, 2020. At least one time, Mr.

14   Mora has specifically asked for a PRA request for my emails to the City according to the PRA

15   response I received late in February. 2020. I have another PRA request in to release any records

16   sent in PRA requests of Mr. Mora, but I will not receive the results in time to file this amended

17   complaint.

18   103. However, according to the recent PRA records, City Manager Damien O’Bid, the only

19   “responsive” employee with PRA records, had numerous email communications with Mr. Mora

20   from April 2019 to January 2020, which fed Mr. Mora’s posts cyberstalking me.         For the month

21   of January 2020, Damien O’Bid wrote 12 replies to Mr. Mora, and his emails reference a phone

22   call also about me.

23   104. The last time I received a reply to an email I sent to Damien O’Bid was July 12th, 2018 and

24   it was a one sentence reply. For over a year before that one sentence reply, I received the same

25   phrase to any email I sent Damien O’Bid, “I have reviewed your correspondence and strongly

26   disagree with your assumptions and conclusions.       The statements that you present as facts are

27   misinformed, as well as displaying a bias against the City, its officials, and staff.”    Mr. Mora

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 1   obviously benefits from the city manager’s services, where I have been denied his services for

 2   years because of my opposition to the City’s actions.

 3   105. The latest PRA request also shows that when I was enduring worst of the cyberstalking in

 4   January 2020, the only City action in the whole situation was to grant Mr. Mora a public records

 5   act request of my emails to the City. This was towards the end of a seven-week 24/7 cyberstalking

 6   effort by Mr. Mora. During this time in mid-January 2020, I was asking everyone for help with

 7   the cyberstalking, even being so desperate to try to get a gag order from this Court.   I requested

 8   help from the Chief of Police, the city council, city staff, two Sonoma County supervisors, the city

 9   attorney (Mr. Bakker) and the lead attorney on this case.    I asked for police intervention to stop

10   the cyberstalking. The City, the police, the county supervisors, and the city’s attorneys did not

11   reply to my emails and did not take any action other than to fulfill a PRA request for Mr. Mora,

12   which increased the intensity of the comments referring to my emails to the City in late January

13   2020.

14   106. The timing of the PRA request to the reference to the PRA request shows that the City

15   produced Mr. Mora’s request in a timely manner. My PRA request at the end of January took a

16   month to receive incomplete responsive records.      Mr. Mora posted on Nextdoor.com replies to

17   his emails from at least one other employee who I had requested email communications to Mr.

18   Mora from in my PRA request—and this employee did not send “responsive records”.            I do not

19   receive equal treatment as far as diligence, timeliness and effort when it comes to PRA requests

20   also as other citizens in Cotati enjoy.

21   Mr. Mora uses my pleadings in this case to feed Mark Landman’s degrading posts on Nextdoor.

22   107. With the recent records act response, I also learned that Mr. Mora has been sending many of

23   my pleadings in this case to other public officials, including planning commission members, as

24   well as members of the public. Mr. Mora was citing the issues of this case on Nextdoor.com.

25   Council member Mark Landman would make comments about his rights to speak, and write

26   degrading comments about my efforts with the lawsuit. I would publicly post that these were

27   issues that needed to be heard in a courtroom and not to hold trial on social media.    This led to

28   Mark Landman going back and forth with Mr. Mora on Mark Landman’s free speech rights and

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 1   the issues in this case. Mark Landman incited others against me for bringing up that these issues

 2   should be heard in a courtroom, not on social media. Some of the “neighbors” on Nextdoor.com

 3   demanded that I post a copy of my complaint online so they could scrutinize it in response to Mr.

 4   Mora’s and Mark Landman’s posts. I refused to, saying they could access themselves online as it

 5   was public record if they so chose to need to read the pleadings.

 6   108. In recent months, Mark Landman also has incited others by holding me accountable for other

 7   people’s speech, especially George Barich’s speech who has been in a decade long feud with Mark

 8   Landman. George Barich does regularly do inflammatory speech that sparks strong emotions on

 9   both sides in our community.     I do not engage in the same type of speech—my speech is based

10   in facts and does not personally attack the council members.

11   109. Mark Landman repeatedly attaches my name in various forms to George Barich in order to

12   attack George Barich in social media.     He repeatedly has called George Barich “my colleague”,

13   talked about “both lawsuits”, and made statements about the few citizens who attend city council

14   meetings (which are mostly George Barich and me).         Mark Landman has called me in recent

15   months, “poison on community meetings” and other demeaning names because of my friendship

16   with George Barich. One such comment on social media: I can tell you as a city council member

17   here in Cotati for the last decade, that the level of angry, disgruntled negativity you’ve seen on

18   those posts and quoted in this thread is exactly what we on your city council are faced with at

19   every single meeting, coming specifically from two individuals with what are in my opinion

20   personal vendettas against this community. I want to thank everyone who has posted for reminding

21   me of the values Cotati truly holds, it’s appreciated.

22   110. This was on a post on Facebook. It was a mutual Facebook friend of Mark Landman and

23   mine, reacting to a comment from George Barich telling an Iranian national to “not get his turban

24   in a twist”.   I was attacked on this Facebook post numerous times by people in my community,

25   because I wouldn’t call George Barich a racist, only that he made a racist comment.           Mark

26   Landman took the opportunity to defame me in our community, because he was trying to fuel the

27   feud with George Barich, dragging me into the mix.       It was only by chance that Mark Landman

28   and I had a mutual Facebook friend that I read this post. It is hard to determine if there have been

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 1   other such posts defaming me in the community by Mark Landman because of my friendship with

 2   George Barich.

 3   111. Comments like these on social media, have caused harm to my budding paralegal career.

 4   Mark Landman incites people to report me to Nextdoor, which gets me temporarily blocked.

 5   Corporate Nextdoor finds out the true situation, and grants my access back. In the meantime, I

 6   have lost at least two opportunities to do paralegal work while blocked, because I couldn’t access

 7   the prospective employer’s personal message on Nextdoor.

 8   112. Mark Landman, acting as an agent of the City, also continues a long-standing theme of the

 9   City employees that what I write is untruthful, not based in fact, is “mis-information” that harms

10   the community repeatedly in his posts on social media.      These posts have affected my ability to

11   get paralegal work, when the person realizes I am the “Laurie Alderman” Mark Landman is talking

12   about on social media on websites such as Nextdoor that reaches 10k worth of “neighbors”.

13   Essential skills of being a paralegal are the ability to be honest and factual, so this defamation by

14   an authority figure has caused harm to my paralegal career directly.

15   113. The seven-week 24/7 episode of cyberstalking by Mr. Mora and the many posts by council

16   member Landman in reply again caused me physically hold my muscles in the “fight” position I

17   use when triggered into PTSD. I started holding my muscles in this position again in December

18   2019. I had not been holding my muscles in the “fight” position since January, 2019. When the

19   incident happened with asking and not receiving any action for police protection and help from

20   the City, police, county supervisors, attorneys, etc. in January, 2020, this progressed into daily

21   temporary paralysis episodes—I have required additional medical treatment and medications due

22   to this latest episode of my spinal cord condition being exacerbated by the stress of the

23   cyberstalking and the actions of the City.

24   114. Once I asked for the PRA request for Mr. Mora’s emails to the City on Jan. 30th, 2020, the

25   cyberstalking stopped. Mark Landman has not replied to any of my posts on social media since

26   either. I have been recovering well in the last month now that the 7 weeks of actions against me

27   have ended.

28

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 1

 2                     Facts related to the ADA claim against the City of Cotati:

 3   115. My disabilities are well known to the City, including physical disabilities, PTSD, and a

 4   speech disability. I have at times requested ADA accommodations such as accessible furniture

 5   and received an accommodation for my speech disability in the past.

 6   116.   Repeatedly over the past two years especially, my time to speak (3 minutes) is interrupted

 7   many times during my allotted time.      This can be comments by the mayor, council members

 8   speaking on the item during my time, making gestures (i.e. the “waving” of John Moore’s city

 9   email folder), and other attempts to increase my speech difficulties by the council members.

10   117. In comparison, repeatedly, my non-disabled peer citizens, are uninterrupted and/or invited

11   to speak again on the same agenda item by the mayor.       Recently, at the Feb. 11th, 2020 council

12   meeting, a non-disabled citizen was allowed to speak for 5 minutes (2 minutes over the time limit)

13   without interruption or input from Mayor Wendy Skillman.

14   118. Additionally related to this ADA claim, is the city’s choice to hold a series of budget and

15   strategic planning meetings in the police community room for at least the last 5 years.   The City

16   council chambers are available to be used for these meetings, which have a sound system and the

17   room is ADA compliant.

18   119.   The room is set up to exclude the citizens from the discussion.    The staff and the council

19   members sit in a square of tables facing each other. The citizens are situated about 2 yards outside

20   the square of tables. The staff/council members sit with their backs to the audience. There is no

21   sound system or microphones available like the city council chambers have, making it difficult to

22   hear what is being said.

23   120. The only two citizens to attend these meetings in the last 5 years are George Barich and me,

24   and we both have disabilities. George Barich has a hearing impairment. Repeatedly, George

25   Barich and I have asked for the meetings to be held in the council chambers so that our disabilities

26   can be accommodated. Most meetings, including an upcoming series in 2020, are still being held

27   in the police community room.

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 1   121.      These actions to not accommodate my disabilities by moving to a ADA

 2   accessible/appropriate room have limited my ability to participate in these “special meetings” held

 3   in the police community room. Between this denial of appropriate and ready accommodations,

 4   and the previously mentioned interruptions in the council chambers, I am discriminated against

 5   because of my known disabilities in violation of the ADA.

 6                                     FIRST CAUSE OF ACTION

 7                      VIOLATION OF RIGHT TO FREEDOM OF SPEECH

 8    (Against the City of Cotati and the individual defendants, Cotati Council members: John

 9   Moore, Mark Landman, John DellOsso and Wendy Skillman, Police Chief Michael Parish

10                                            and city manager
                                               Damien O’Bid.)
11
     122. Paragraphs 1-121 are part of this claim.
12
     123. By their conduct (all individual defendants), as described herein, and acting under the color
13
     of state law to deprive plaintiff of her right to freedom of speech, assembly, and association under
14
     the First and Fourteenth Amendments, the city of Cotati and all individual defendants, is liable for
15
     violation of 42 U.S.C. § 1983, which prohibits the deprivation under color of state law of rights
16
     secured under the United States Constitution.
17
     124. The individual defendants all violated the plaintiff’s First Amendments rights to assembly,
18
     speech, and association by repeatedly taking actions both individually and as group to “chill” the
19
     plaintiff’s free speech in order for the defendants to maintain their status quo of 99% unanimous
20   votes and passing every resolution before them for the last five years.
21   125. As a consequence of the defendant’s actions, plaintiff has suffered violations of her first and
22   fourteenth amendment rights to free speech, assembly, and association.
23   126. The City’s and individual defendants have repeatedly in the course of their retaliation to the
24   Plaintiff’s opposing speech, completed a series of actions denying the plaintiff equal protection
25   under the law described in the 14th Amendment.        This is especially true as far as the plaintiff’s

26   rights to police services and protection as enjoyed by other citizens of Cotati. Plaintiff’s rights to

27   equal police protection have routinely been denied over the past 5 ½ years.

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 1   47. As a proximate result of all individual defendant’s unlawful actions, plaintiff has suffered

 2   damages including physical, mental and emotional injury and pain, mental anguish, suffering,

 3   humiliation and embarrassment.

 4

 5                                     SECOND CAUSE OF ACTION
                                              MONELL CLAIM
 6
                                         (Against the City of Cotati)
 7
     127. Paragraphs 1-126 are part of this claim.
 8
     128. All of the acts and omissions by the individual council members, city manager, and the police
 9
     chief described above were carried out under policies and practices of defendant City of Cotati
10
     that existed at the time of the conduct alleged, and were engaged in the full knowledge, consent,
11
     and cooperation and under the supervisory authority of defendant City of Cotati.
12
     129. Defendant the city of Cotati and its individual employees, adopted “unwritten policies” that
13
     have resulted in their 99% unanimous vote record and every resolution passing within the last five
14
     years (717 of 717 resolutions).     This culture has established a custom that is widespread and a
15   well-settled practice that constitutes a standard operating procedure. It is their custom to comment
16   at inappropriate times on the agenda on the context of citizen’s comments, mostly degrading the
17   citizens, these comments by the city council and staff serve to chill citizen’s exercise of free speech
18   at public council meetings, thereby oppressing the expression of views and experiences of the
19   citizens.
20   130. Defendant City of Cotati, by its policy-making agents, servants, and employees, authorized,

21   sanction and/or ratified all individual defendants/employees’ wrongful acts; and/or failed to

22   prevent or stop those acts; and/or allowed or encouraged those acts to continue.

23   131. The constitutional violations by the City of Cotati, through the actions of its employees and

24   council, were proximately caused by the policies, practices, or customs developed, implemented,
     enforced, encouraged, and sanction by defendant City of Cotati, including the failure to: (1)
25
     adequately train its officers and agents, thereby failing to adequately discourage constitutional
26
     violations on the part of its officers and agents; and (2) properly monitor and discipline its council
27
     members, employees and officers, including Chief Parish.
28

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 1   132. All defendants’ unlawful actions were done willfully, knowingly, and with the specific intent

 2   to deprive plaintiff of her constitutional rights under the First and Fourteen Amendments of the

 3   U.S. Constitution.

 4   133. All defendants have acted with deliberate indifference to plaintiff’s constitutional rights. As

 5   a proximate result of these acts, plaintiff’s constitutional rights have been violated, which caused
     her to suffer physical, mental and emotional injury and pain, mental anguish, suffering, humiliation
 6
     and embarrassment.
 7
     134. Plaintiff has no adequate remedy at law and will suffer serious irreparable harm to her
 8
     constitution rights unless defendants are enjoined from continuing their unlawful practices,
 9
     policies, and/or customs that have proximately caused these abuses to occur.
10
                                       THIRD CAUSE OF ACTION
11
                  VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
12
                                           (Against the City of Cotati)
13
     135.   Paragraphs 115 to 121 are part of this claim.
14
     136. I, Laurie Alderman, the plaintiff am known to the City of Cotati to have disabilities
15   acknowledged to be qualified under the Americans with Disabilities Acts, from previous ADA
16   accommodation requests to the city.
17   137. The city of Cotati and its agents are aware of my disability of a spinal cord condition that can
18   lead to temporary paralysis if my PTSD condition is triggered. This is known from email
19   communications and verbal conversations to them from me, that stress exacerbates my condition
20   and can lead to further disability.

21   138.    Repeatedly, the City of Cotati through its agents, have denied me appropriate ADA

22   accommodations, including use of the ADA appropriate city council chambers.

23   139. By targeting by ADA disabilities, the city of Cotati and individual defendants violated my

24   rights to full and equal enjoyment, privileges and advantages of the City as other non-disabled
     citizens in Cotati have.
25
     140. Their retaliatory acts specifically targeting my ADA disability status in order to chill my free
26
     speech rights, have caused physical, mental and emotional harm to me and my family.
27

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 1                                               PRAYER

 2   Wherefor, plaintiff Laurie Alderman prays for a judgment as follows:

 3   1. An injunction enjoining all defendants from engaging in conduct to unlawfully disrupt, disperse,

 4   interfere with, or prevent the lawful First Amendment activities described herein;

 5   2. An injunction enjoining the defendants from engaging in conduct to unlawfully violating the
     Americans with Disabilities Act described herein;
 6
     3. An injunction from engaging in practices and conduct that violate the equal treatment under
 7
     the law clause of the 14th amendment in regards to receiving services, such as police protection
 8
     and city services.
 9
     4. An award of compensatory damages; these damages shall fund a special needs trust for the
10
     plaintiff.
11
     5.   An award of exemplary damages; these damages shall fund a special needs trust for the
12
     plaintiff.
13
     6.   An award of costs of suit under 42 U.S.C. §§ 1920 and 1988.
14
     7.   For such other and further relief as the Court deems appropriate and just.
15

16   Respectfully submitted:
17   Dated: February 29th, 2020            /s/ _Laurie Alderman___________________________
18                                         Laurie Alderman,
19                                          Pro Se litigant
20   Electronically signed by Laurie Alderman on 2/29/20.

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 1   EXHIBIT 1

 2   Background related to medical conditions, disabilities, education, career, etc.

 3   1. Once again, I will be writing in first person voice as a pro se litigant in this section.

 4   2. For over 25 years, I worked full-time with the disabled community in various positions. I also

 5   worked at the same time various jobs in human service and business positions in a supervisory

 6   capacity, using my skills from a business background.              I have a bachelor’s in business

 7   administration with a minor in social work from Sacramento State University from 1986. Later on,

 8   I continued on in my education, receiving a masters degree in occupational therapy from the

 9   University of Sydney in Australia in 2004. I went on to practice as an occupational therapist in

10   Indiana and Michigan starting in 2005.

11   3. Before the events of the fire/explosions in 2014, I had returned from Michigan to our family

12   home (now living in Cotati for 50 years) after becoming seriously ill and going bankrupt from

13   medical bills early in the decade. I recovered somewhat from the serious illnesses upon returning

14   to our family home and was working part-time as late as 2013.           I was also dealing with being

15   in a bankruptcy caused by medical bills from Michigan.         In 2012, I filed successfully, my own

16   bankruptcy pro se.     I also successfully defended myself by pro se in Sonoma County Superior

17   Court, actions filed against me related to the bankruptcy and my student loans over the next few

18   years. This sparked my interest in advancing my legal skills, but there was not a paralegal program

19   available to me at the time.

20   4. I made a good recovery from the serious illnesses and was stable in my medical conditions and

21   able to work part-time in 2012 and on, while I was on social security (SSDI) , Medicare and Medi-

22   Cal.      I physically was likely to return to work full time within the next few years as an

23   occupational therapist. I had financial stability for the first time in many years though through

24   being on SSDI and Medicare.

25   5. In early 2014, I received the diagnosis of cervical spinal stenosis and the specialists determined

26   I was not a candidate for surgery.      I had mild compression of my spinal cord in 2014.        The

27   neurosurgeons warned that continuing to work with the disabled was at great risk to me, that I if I

28   received a blow to my spinal cord/cervical region, it could lead to me being quadriplegic.     I also

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 1   received the prognosis in 2014 that the cervical spinal stenosis would likely very slowly progress,

 2   possibly into quadriplegia.   I was deciding what my next steps were in June 2014, when the

 3   fire/explosions happened next door.      The events surrounding the fire and explosions severely

 4   disrupted my plans over the next two years. Additionally, the trauma of all that I went through

 5   with the fire and the city’s response to the fire/explosions exacerbated my post-traumatic stress

 6   disorder into acute symptoms. I was always holding my neck and shoulders in the “fight” response

 7   after the fire, which impacted my cervical spinal stenosis diagnosis. I received intensive treatment

 8   for PTSD, the cervical spinal stenosis/spinal cord compression and chronic pain in late 2014 and

 9   2015.

10   6. Starting to realize that I needed to change careers or become more involved in administration

11   of occupational therapy, I returned to Santa Rosa Junior College for human advocacy and business

12   courses in the Spring semester of 2016.     I had wanted to enroll in Santa Rosa Junior College’s

13   paralegal program, but the college could not accommodate my disabilities with the program being

14   on-campus, three evenings a week for three hours.

15   7. During the spring semester of 2016, the advisors at Santa Rosa Junior College helped me set

16   up going to Cerro Coso Community College’s online paralegal program and also to have on-

17   campus support through Santa Rosa Junior College with their paralegal program and disability

18   resources department.    I also started taking some paralegal classes through Santa Rosa Junior

19   College offered online or on weekends.

20   8. I also started to receive vocational rehabilitation services through the CA Department of

21   Rehabilitation. My projected graduation date was May, 2018 and my job transition period was to

22   start in June, 2018.

23   9. I graduated #1 in my paralegal class in May, 2018, with many awards and honors. I graduated

24   Phi Theta Kappa from Cerro Coso Community College and also have a 4.0 g.p.a. in my paralegal

25   and business classes at Santa Rosa Junior College.

26   10.     Medically, in the summer of 2016, I unfortunately went through heat stroke.            This

27   substantially changed my medical conditions, making me medically fragile. I developed additional

28   medical conditions at that time, including lymphedema, heat intolerance, and the inability to sweat.

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 1   11. These conditions made it even more important to pursue a position that I would be able to

 2   continue to work in, which was the paralegal career.    In addition, medically, my symptoms from

 3   the cervical spinal stenosis increased during 2016 and 2017, to where I was having mild temporary

 4   episodes of paralysis and numbness of my hands that usually only lasted a few hours.             In the

 5   2017, I had a MRI that showed my cervical spinal stenosis had increased to severe spinal cord

 6   compression.

 7   12. In the summer of 2018, there was a series of traumatic events, i.e. 5 vehicles on the freeway

 8   that caught a hill full of weeds on fire near our house. Plus, I was threatened with arrest in June,

 9   after saying three sentences, and a week later being called “bat shit crazy”. This was only the start

10   of activating my PTSD over the next few months. I once again started to hold my muscles in the

11   “fight” position, which exacerbated my spinal cord condition. This time though, being much more

12   medical fragile than before, I deteriorated to having paralysis of my hands and feet for weeks at a

13   time, compared to previous episodes of this PTSD/Spinal Cord interaction. I was pretty much

14   bedridden for three months.      I stopped “speaking out” at the council meetings during this time

15   to protect my health during these three months. I also started physical therapy and have worked

16   hard to regain my functional skills in the last year.

17   13. In December 2019 and January 2020, I once again physically deteriorated and have lost motor

18   skills because of the extreme stress of being cyberstalked by Christopher Kern Mora and the many

19   posts by council member Mark Landman for seven weeks (which led to my misguided and

20   desperate attempt for a gag order to this Court).

21   14. I started holding my muscles in the PTSD “fight” position again, harming my spinal cord

22   condition once again. This required more medical intervention, i.e. new medications, and I am

23   still recovering from this PTSD/spinal cord condition interaction at the time of this writing.

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